43 F.3d 1465
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert Morris COCHRAN, a/k/a Temple of God, Plaintiff Appellant,v.Sally JOHNSON;  Byron Herbal, Defendants Appellees.
    No. 94-7093.
    United States Court of Appeals, Fourth Circuit.
    Submitted November 17, 1994.Decided December 20, 1994.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Malcolm J. Howard, District Judge.  (CA-94-334)
      Robert Morris Cochran, appellant pro se.
      E.D.N.C.
      AFFIRMED.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
    
    PER CURIAM
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Cochran v. Johnson, No. CA-94-334 (E.D.N.C. Sept. 13, 1994).  We deny Appellant's motion for appointment of counsel and motion to indict defendants, and we dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    